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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Fred Cartwright,                                )
                                                )
                   Plaintiff,                   )
                                                )
      v.                                        ) Case No. 15-cv-06759
                                                )
Silver Cross Hospital and Medical               ) Hon. Judge John Robert Blakey
Centers and Crothall Healthcare, Inc.           )
                                                ) Jury Trial Demanded
                                                ) Requests Media in Court Case
                    Defendants.                 ) to be Televise

            PLAINTIFFS’ MOTION RESPONSE TO JUDGES’ RULING OF THE
                TERMINTION OF THE CIVIL CASE AND THE REQUEST
                        FOR REINSTATEMENT OF THE CASE

      Pro Se Plaintiff, Fred Cartwright (“Plaintiff”), submits this reply to Defendants’,

Silver Cross Hospital and Medical Centers (“Silver Cross”) and (“Defendants”),

Crothall Healthcare Inc. (“Crothall”) and (“Defendants”) and to the U.S. District Court

for the Northern District of Illinois Eastern Division, PLAINTIFFS’ MOTION RESPONSE

TO JUDGES’ RULING OF THE TERMINATION OF CIVIL CASE AND THE REQUEST FOR

REINSTATEMENT OF THE CASE.

      Plaintiff would first like to point out that he, The Plaintiff, has never in this

case completely ignored The Judge’s or Court’s Orders. Plaintiff has filed for

continuances, explained why couldn’t appear, or even called Clerk to explain


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situation. Judge states this is common for Plaintiff to ignore orders. However, It is not

common for Plaintiff to ignore orders. It is common for Plaintiff to object and argue

his point but has NEVER completely ignored the court purposely.

      Plaintiff did not ignore the Judge’s Courts Order sent on June 24, 2019 to

appear for the June 25, 2019 and June 26, 2019 deposition as Plaintiff explains in

further detail. Plaintiff again didn’t ignore the Court’s Orders and did not properly

seek a good faith continuance, because the Plaintiff never reviewed the Judge’s June

24, 2019 Docket text {235} sent at 2:15pm on that day because the Plaintiff did not

see the Docket Text. The Plaintiff only reviewed the Judge’s Docket Text {236} sent at

4:31pm after the 2:15pm Text and the Plaintiff was excited that he was granted his

oral motion to file his status report on or before June 25, 2019 because Plaintiff was

still engaged in preparing the status report. When the Plaintiff opened up the

electronical filing, the transactions of Docket Text {236} appeared and the Plaintiff

was very tired and excited about what he was view and never viewed the above

transaction Docket Text {235} to open it, due to the Plaintiff’s weariness and extreme

excitement the Docket Text {235} was never seen nor opened at that time. The

Plaintiff only became aware of the Docket Text {235}, after Judge Blakey entered his

transaction Docket Text {238} on June 25, 2019 at 4:14pm dismissing and

terminating Plaintiff Civil Case and the Plaintiff was in shock and wondering what

was going on and thought Judge Blakey was upset about the Plaintiff’s status report


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and exhibits etc. The Plaintiff just woke up about 30 minutes or so, just to see if he

received any transactions Docket Text from the Court and Judge Blakey regarding the

status report etc. and became very ill and was feeling retaliated against all over

again. The Plaintiff began frantically intensely trying to find the transaction Docket

Text {235} that Judge Blakey was referring to in his Docket Text {238} for the Plaintiff

to view. The Plaintiff frantically searched for Docket Text {235} and still overlooked

the {235} Docket Text a few times again and was only viewed the Defendants Notice

to appear for deposition and was out of my mind believing that was what Judge

Blakey was referring to and The Plaintiff was thinking about what the Defendants

Counsels was telling the Plaintiff due their conversation on June 7, 2019 and at that

time the Plaintiff was telling the Defendants that, the Plaintiff had already followed

the Courts Order to be deposed for deposition and the Court, Judge Blakey and the

Defendants forced the Plaintiff to appear at the March 22, 2019, April 23, 2019 and

April 24, 2019 depositions through threats of dismissing Plaintiff’s Case, despite

numerous of warranting from the Plaintiff regarding his mental illnesses etc. and the

Plaintiff’s being under Doctors, Psychiatrist and Counselors care with Doctors Orders.

Plaintiff abided the Courts, Judge Blakey’s and the Defendant’s threatening orders

and risk his life three times appearing for the Defendants depositions and

Defendants are now still complaining that the Plaintiff did not answer the

Defendants questions, due to the Plaintiff’s mental state, physical conditions and


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because of that lack of memory, so they should have another shot to depose the

Plaintiff for deposition despite the Plaintiff stating his physical condition is still

ongoing and worsened. The Plaintiff feels by being forced the three times, the

Defendants lost their golden opportunity by defaulted of not applying to the

Plaintiff’s Doctors Orders etc. and should have rescheduled the deposition until the

Doctors, Psychiatrist and the Counselors evaluations has finalize for the Court, Judge

Blakey and the Defendants viewing. The Plaintiff still would like to be depose for

deposition because the Plaintiff has nothing to fear, as long as the Plaintiff be

provided the opportunity to be cared for with treatments from his Doctor,

Psychiatrist and Counselors and that way the Plaintiff as for the Court, Judge Blakey

and the Defendants to reschedule or delay this Case for 90 days and not absorb any

unnecessary costs and still get their deposition.

       Back to the Plaintiff search for the Courts Orders for Plaintiff to appear for

deposition on June 25, 2019. The Plaintiff were thinking about the Defendants Notice

to appear for deposition and continue to overlook the other Docket Text {235} and

seeing Docket Text {236] and then the Plaintiff took a break to relax. The Plaintiff

once again continued search and finally opened up the June 24, 2019 Court Order

Docket Text {235} and the Plaintiff became more ill once again by view the Text {235}

in astonishment that the Court really did Order the Plaintiff to appear for a




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deposition the next day June 25, 2019, less then 24 hours way from the time

Transaction Court Order Docket Text {235} was sent.

      Plaintiff was in shock and could not breathe for a minute and had to lay down.

After a while, the Plaintiff felt that if he would have known about the Courts Order,

he would have filed to seek a good faith continuance as same as in the past. Due to

the Plaintiff deadline to have his status report done and submitted June 25, 2019 and

had stayed up all day Monday and Monday night June 24, 2019 until the time the

status report was sent at 1:01pm Tuesday June 25, 2019.

      Plaintiff also believes the Courts Orders was ill-advised and should have

allowed the Plaintiff enough time to appear for a deposition and the Plaintiff was

given less than 24 hours to do so. While the Plaintiff was under a deadline to have

the status report done and sent the same day of the deposition and the time frame

of the deposition being sent or submitted is the same reason why the Plaintiff should

have not been Ordered for deposition the next day. Due to everything that has

transpired such as, the Plaintiff health issues and time frame of deadline, the Plaintiff

believes the deposition Court Orders should not have been issued at that time the

Court had just granted less than 24 hours before the deposition.

      Respectfully, the Plaintiff would not have appeared for the depositions,

because the Plaintiff was not able to appear for the reasons stated above. Plaintiff

states his apologies to the Court, Judge Blakey and the Defendants for the Plaintiff


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honest mistake of not realizing the Courts Order while enduring significant stress,

anxiety and no sleep etc. and trying to complete and trying to finish up the status

report the same day before or by the deadline on the days of deposition. As

everyone knows, the Plaintiff would have filed a good faith continuous the same as

in the past Court Orders due to the Plaintiff situations and issues etc. The Plaintiff

spoke about the deposition that the Defendants wanted during our phone

conversation and the Plaintiff thought that is what Judge Blakey was talking about.

The Plaintiff never intends to allow for the Defendants to endure extra unfair costs of

coming to Chicago, only if the Plaintiff knew of such mistake was being made, the

Plaintiff would have definitely have filed a good faith continuous motion.

         The Plaintiff at this time ask the Court to reinstate the Plaintiff’s Civil Case for

the Plaintiffs sincere and truthful explanation of the course of events that has taken

place.

         Plaintiff also ask the Court for a continuous for 90 days for the Plaintiff to

undergo continuous treatments from Plaintiff’s Doctor, Psychiatrist and Counselors

to be provided a complete evaluation and/or for the Plaintiff health and physical to

be improved enough to complete his depositions and the 90 days continuous would

not cause the Court, the Judge or the Defendants any unjust costs or inconvenience.

Plaintiff had to relax to prepare this Motion and it took some time.

Exhibit A – Docket Text and Gmail of dates and times of incidents.


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Exhibit B – This is the Plaintiff first (uncorrected with mistakes or proof read) status
report Plaintiff was preparing at time the Docket Text was viewed (already inview),
until Plaintiff was reminded again of (5 pages) in the June 24, 2019 Docket Text
granting the Plaintiff’s oral motion.
Exhibit C – Screenshot of Plaintiff’s view of his Gmail account. This is Plaintiff’s first
view when opening his Gmail. As seen in the green square, I see the docket text
about granting Plaintiff’s oral motion. Plaintiff did not notice the Top red box due to
his excitement of the granted motion, The unnoticed Red box was never clicked and
opened to view. Therefore Plaintiff didn’t know about his required appearance for
depositions.
Exhibit D – Screenshot of Plaintiff’s view after Clicking on the red box. Once again
this text of my required appearance was not viewed UNTIL Plaintiff clicked on red
box after the Judge dismissed case due to Judge believing Plaintiff was purposely
ignoring Judge’s Court Order to appear for deposition.



DATED: June 26, 2019                                          Respectfully Submitted,

                                                              /s/ Fred Cartwright

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                              CERTIFICATE OF SERVICE

       The undersigned Plaintiff, Fred Cartwright, Pro Se Party hereby certifies that

on June 26, 2019, he caused the foregoing PLAINTIFFS’ MOTION RESPONSE TO

JUDGES’ RULING OF THE TERMINATION OF CIVIL CASE AND THE REQUEST FOR

REINSTATEMENT OF THE CASE for this Case, TO SILVER CROSS HOSPITAL AND

MEDICAL CENTERS AND CROTHALL HEALTHCARE, INC.’S Requests to Defendants’

Silver Cross Hospital and Medical Centers and Crothall Healthcare, Inc., and to the

U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION,

to be filed electronically via the Northern District of Illinois’s electronic filing system,

and due to Plaintiff’s financial difficulties a copy of the same to be served on the

Defendants’ by emails mrmartin@seyfarth.com , kmendez@seyfarth.com ,

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DATED: June 26, 2019                                     Respectfully Submitted,

                                                       /s/ Fred Cartwright

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